Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 1 of 17



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                       Case No.: 19-cv-22303-KMW

   FLORIDA CARRY, INC., a
   Florida not for profit corporation, et al.,

           Plaintiffs,

   vs.

   CITY OF MIAMI BEACH, et al.,

         Defendants.
   _________________________________/


                             DEFENDANT CITY OF MIAMI BEACH’S
                            ANSWER AND AFFIRMATIVE DEFENSES
                         TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

           Defendant CITY OF MIAMI BEACH (“City”), by and through their undersigned

   counsel, hereby file their Answer and Affirmative Defenses to the First Amended Complaint

   filed by Plaintiffs, FLORIDA CARRY, INC., MICHAEL TAYLOR (“Taylor”), STEVEN

   JENKINS (“Jenkins”), SEAN DEVINE (“Devine”), CHRISTOPHER PHILPOT (“Philpot”),

   CARLOS GUTIERREZ (“Gutierrez”), and JONAH WEISS (“Weiss”) (collectively “Plaintiffs”),

   and state as follows as to the paragraphs numbered in Plaintiffs’ First Amended Complaint:

      1. Admitted that Plaintiffs purport to have filed this action for damages in excess of

          $30,000.00 and for declaratory and injunctive relief but denied that Plaintiffs’ claims have

          any merit or that Plaintiffs are entitled to any relief whatsoever in this action.

      2. Admitted that venue is proper based on Plaintiffs’ allegations; all other allegations and

          adverse inferences are denied.




                                                      1
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 2 of 17



                                               PARTIES

     3. Admitted.

     4. Admitted.

     5. Defendant City admits Dan Oates is Miami Beach Police Chief; but denies as to all other

        allegations in this paragraph.

     6. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     7. Denied.

     8. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     9. Defendant City admits that Plaintiffs purport to bring claims against each Defendant in his

        or her individual capacity in this action, but denies that Plaintiffs’ claims have any merit

        or that Plaintiffs are entitled to any relief whatsoever in this action.

     10. Denied.

     11. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     12. Admitted.

                                         FACTS IN COMMON

     13. Defendant City admits the date of the incident but denies as to all other allegations in this

        paragraph.

     14. Denied.

     15. Defendant City admits that Plaintiff Philpot sent e-mails with unopenable attachments to

        the Chief and City Attorney. Other than the unopenable attachment, the e-mail contained



                                                    2
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 3 of 17



        no other information.

     16. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     17. Denied as phrased.

     18. Denied as phrased.

     19. Denied as phrased.

     20. Denied as phrased.

     21. Denied as phrased.

     22. Denied as phrased.

     23. Denied as phrased.

     24. Denied.

     25. Denied as phrased.

     26. Admitted.

     27. Admitted.

     28. Admitted.

     29. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     30. Defendant City admits that the Park Ranger left the scene but denies as to all other

        allegations in this paragraph.

     31. Admitted that the stated Defendant Officers arrived and approached some of the Plaintiffs;

        all other allegations and adverse inferences are denied.

     32. Denied.

     33. Denied.



                                                  3
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 4 of 17



     34. Denied.

     35. Denied.

     36. Denied.

     37. Admitted.

     38. Admitted that some officers pointed their firearms at one or more of the Plaintiffs.

     39. Admitted.

     40. Admitted that some of the Defendant Officers temporarily detained and handcuffed four

        of the Plaintiffs for officer and public safety while they conducted their investigation; all

        other allegations and adverse inferences are denied.

     41. Admitted that some of the Defendant Officers temporarily detained and handcuffed four

        of the Plaintiffs for officer and public safety while they conducted their investigation; all

        other allegations and adverse inferences are denied.

     42. Denied as phrased.

     43. Denied.

     44. Denied.

     45. Admitted that Plaintiff Weiss arrived at the South Pointe Pier while the first four officers

        were temporarily detaining other individuals; all other allegations and adverse inferences

        are denied.

     46. Denied.

     47. Denied as phrased.

     48. Denied as phrased.

     49. Denied.

     50. Defendant City is without knowledge or information sufficient to form a belief as to the



                                                   4
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 5 of 17



        allegations contained in this paragraph and therefore denies same.

     51. Admitted.

     52. Admitted that the Plaintiffs were kept at the scene while officers conducted their

        investigation for approximately the time stated; all other allegations and adverse

        inferences are denied.

     53. Admitted that officers of the Miami Beach Police Department temporarily held firearms

        belonging to some of the Plaintiffs while they conducted their investigation for officer and

        public safety; all other allegations and adverse inferences are denied.

     54. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     55. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     56. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     57. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     58. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     59. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     60. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     61. Defendant City is without knowledge or information sufficient to form a belief as to the



                                                   5
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 6 of 17



        allegations contained in this paragraph and therefore denies same.

     62. Admitted that officers of the Miami Beach Police Department temporarily held Plaintiff’s

        knife while they conducted their investigation for officer and public safety; all other

        allegations and adverse inferences are denied.

     63. Admitted that officers also temporarily held other property belonging to the Plaintiffs

        while they conducted their investigation for officer and public safety; all other allegations

        and adverse inferences are denied.

     64. Admitted that some Plaintiffs were handcuffed for a portion of the period that the officers

        conducted their investigation for officer and public safety; without knowledge or

        information sufficient to form a belief as to the remainder of the allegations contained in

        this paragraph and therefore denies same.

     65. Denied.

     66. Denied.

     67. Denied.

     68. Denied as phrased.

     69. Admitted.

     70. Denied as phrased.

     71. Admitted that one or more of the Defendant Officers searched one of Plaintiffs’ coolers;

        otherwise denied.

     72. Admitted that one or more of the Defendant Officers verified Plaintiffs’ fishing licenses;

        otherwise denied.

     73. Admitted that one or more of the Defendant Officers verified the Concealed Weapons

        Firearms Licenses for those Plaintiffs in possession of such a license; otherwise denied.



                                                    6
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 7 of 17



     74. Denied.

     75. Admitted that one or more of the Defendant Officers ran the serial numbers of Plaintiffs’

        firearms; otherwise denied.

     76. Denied.

     77. Denied as phrased.

     78. Denied as phrased.

     79. Admitted.

     80. Admitted that after Defendant Officers had conducted sufficient investigation pursuant to

        their reasonable suspicion, Defendant Officers removed handcuffs from all handcuffed

        Plaintiffs; all other allegations and adverse inferences are denied.

     81. Denied.

     82. Denied.

     83. Denied.

     84. Denied.

     85. Denied as phrased.

     86. Denied as phrased.

     87. Admitted that Plaintiffs’ firearms were temporarily unloaded for officer and public safety;

        all other allegations and adverse inferences are denied.

     88. Admitted that Plaintiffs’ firearms were temporarily unloaded for officer and public safety;

        all other allegations and adverse inferences are denied.

     89. Denied as phrased.

     90. Denied as phrased.

     91. Denied.



                                                   7
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 8 of 17



     92. Denied.

     93. Defendant City is without knowledge or information sufficient to form a belief as to the

        allegations contained in this paragraph and therefore denies same.

     94. Denied.

     95. Denied.

     96. Denied.

     97. Denied.

     98. Denied.

     99. Denied as phrased.

     100. Denied.

     101. Denied.

     102. Denied.

     103. Denied.

     104. Defendant City is without knowledge or information sufficient to form a belief as to the

         allegations contained in this paragraph and therefore denies same.

     105. Defendant City is without knowledge or information sufficient to form a belief as to the

         allegations contained in this paragraph and therefore denies same.

     106. Defendant City is without knowledge or information sufficient to form a belief as to the

          allegations contained in this paragraph and therefore denies same.

     107. Defendant City is without knowledge or information sufficient to form a belief as to the

          allegations contained in this paragraph and therefore denies same.

     108. Defendant City is without knowledge or information sufficient to form a belief as to the

          allegations contained in this paragraph and therefore denies same.



                                                 8
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 9 of 17



      109. Denied as phrased.

      110. Denied as phrased.

      111. Denied.

                                              COUNT I
                                    Violation of Fla. Stat. § 790.33
                                Against Defendant, City of Miami Beach

           Defendant City hereby realleges and adopts its responses to paragraphs 1 through 111, as

   if fully set forth herein.

   112. Admitted for purposes of this case only.

   113. Denied.

   114. Denied as phrased.

   115. Denied as phrased.

   116. Denied.

   117. The text of the complaint speaks for itself.

   118. Denied.

   119. Denied.

   120. Denied.

   121. Denied.

   122. Denied.

   123. Denied as phrased.

   124. Denied.

   125. Admitted.

   126. Denied.

   127. Denied.



                                                       9
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 10 of 17



   128. Denied

   129. Denied.

   130. Denied.

   131. Denied.

   132. Denied.

   133. Denied.

   134. Denied.

   135. Denied.

   136. Denied.

   137. Denied.

   138. Denied.

   139. Denied.

   140. Denied.

   WHEREFORE clause is denied in its entirety.


                                             COUNT II
                                   Violation of Fla. Stat. § 790.33
                                 Against Defendant, Jimmy Morales

   141. 141 through 159 are not asserted against Defendant City; therefore, Defendant City is not

          required to provide responses. However, to the extent that said allegations may be

          construed against Defendant City, they are denied.

   WHEREFORE clause is denied in its entirety.

                                             COUNT III
                                    Violation of Fla. Stat. § 790.33
                                    Against Defendant, Dan Oates

   160.    160 through 180 are not asserted against Defendants; therefore, Defendants are not

                                                   10
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 11 of 17



           required to provide responses. However, to the extent that said allegations may be

           construed against Defendants, they are denied.

   WHEREFORE clause is denied in its entirety.

                                            COUNT IV
       42 U.S.C. § 1983 – Violation of Civil Rights of Devine, Weiss, Guiterrez, and Philpot
      Against Defendants, Officers M. Garcia, Bolduc, Villamil, Rivera, Hicks, and Mitchell

   181.    181 through 206 are not asserted against Defendant City; therefore, Defendant City is not

           required to provide responses. However, to the extent that said allegations may be

           construed against Defendant, they are denied.

   WHEREFORE clause is denied in its entirety.

                                             COUNT V
             42 U.S.C. § 1983 – Violation of Taylor’s Civil Rights Under Color of Law
                                Against Defendant, Officer Villamil

   207.    207 through 225 are not asserted against Defendant City; therefore, Defendant City is not

           required to provide responses. However, to the extent that said allegations may be

           construed against Defendant City, they are denied.

   WHEREFORE clause is denied in its entirety.

                                            COUNT VI
             42 U.S.C. § 1983 – Violation of Jenkins’ Civil Rights Under Color of Law
                                Against Defendant, Officer Rivera

    226.   226 through 244 are not asserted against Defendant City; therefore, Defendant City is not

           required to provide responses. However, to the extent that said allegations may be

           construed against Defendant City, they are denied.

   WHEREFORE clause is denied in its entirety.




                                                  11
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 12 of 17




                                          COUNT VII
        42 U.S.C. § 1983 – Violation of Civil Rights Under Color of Law of All Plaintiffs
     Against Defendants, Officers M. Garcia, Bolduc, Villamil, Rivera, Salabarria, Mitchell,
                            Bicelis, Hicks, El. Vidal, and E. Garcia

   245.    245 through 259 are not asserted against Defendant City; therefore, Defendant City is not

           required to provide responses. However, to the extent that said allegations may be

           construed against Defendant City, they are denied.

           WHEREFORE clause is denied in its entirety.

                                                COUNT VIII
                                Violation of Civil Rights Under Color of Law
                                  Against Defendant, City of Miami Beach

           Defendant City hereby realleges and adopts his responses to paragraphs 1 through 111, as

   if fully set forth herein.

   260. Admitted.

   261. Denied as phrased. The City manager is the final policymaker for the City of Miami Beach.

   262. Denied as phrased. The City Manager is the final policymaker for the City of Miami Beach.

   263. Denied.

   264. Denied.

   265. Denied.

   266. Denied.

   267. Denied.

   268. Denied.

   269. Denied.

   270. Denied.

   271. Denied.



                                                    12
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 13 of 17



   272. Denied.

   273. Denied.

   274. Denied.

   275. Denied.

   276. Denied.

   277. Denied.

   278. Denied.

   279. Denied.

   280. Denied.

   281. Denied.

   282. Denied.

   283. Denied.

   284. Denied.

   285. Denied.

   286. Denied.

   WHEREFORE clause is denied in its entirety.

                                           COUNT IX
            42 U.S.C. § 1985 – Conspiracy to Interfere With Civil Rights of Plaintiffs
                 Against Defendants, City of Miami Beach, M. Garcia, Bolduc,
             Villamil, Rivera, Er. Vidal, Cano, Salabarria, Mitchell, Bicelis, Hicks,
                                    El. Vidal, & Lt. E. Garcia

   287.   287 through 303 are not asserted against Defendant City; therefore, Defendant City is not

          required to provide responses. However, to the extent that said allegations may be

          construed against Defendant City, they are denied.

   WHEREFORE clause is denied in its entirety.



                                                 13
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 14 of 17



                                          COUNT X
    State Tort – False Imprisonment of Taylor, Jenkins, Devine, Weiss, Guiterrez, and Philpot
                                  Against Defendant Officers

   304.    304 through 308 are not asserted against Defendant City; therefore, Defendant City is not

           required to provide responses. However, to the extent that said allegations may be

           construed against Defendant City, they are denied.

   WHEREFORE clause is denied in its entirety.

                                            COUNT XI
                                        State Tort - Assault
                     Against Defendant Officers, M. Garcia, Villamil, and Rivera

   309.    309 through 313 are not asserted against Defendant City; therefore, Defendant City is not

           required to provide responses. However, to the extent that said allegations may be

           construed against Defendant City, they are denied.

   WHEREFORE clause is denied in its entirety.

                                         COUNT XII
        State Tort – Battery on Taylor, Jenkins, Devine, Weiss, Guiterrez, and Philpot
      Against Defendant Officers, M. Garcia, Villamil, Rivera, Hicks, Mitchell, and Bolduc

   314.    314 through 326 are not asserted against Defendant City; therefore, Defendant City is not

           required to provide responses. However, to the extent that said allegations may be

           construed against Defendant City, they are denied.

   WHEREFORE clause is denied in its entirety.

                                         COUNT XIII
      Respondeat Superior Liability for Assault, Battery, & False Imprisonment of Taylor,
                       Jenkins, Devine, Weiss, Guiterrez, and Philpot
                          Against Defendant, City of Miami Beach

           Defendant City hereby realleges and adopts its responses to paragraphs 1 through 111, as

   if fully set forth herein.

   327. Admitted.

                                                  14
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 15 of 17



   328. Admitted.

   329. Admitted.

   330. Denied.

   331. Denied.

   332. Denied.

   333. Denied.

   334. Denied.

   335. Denied.

   336. Denied.

   337. Denied.

   WHEREFORE clause is denied in its entirety.

                                           EXPRESS DENIAL

          Any and all of Plaintiffs’ allegations not specifically admitted herein are expressly denied

   and strict proof is demanded thereof.

                                     AFFIRMATIVE DEFENSES

          In further response to Plaintiffs’ First Amended Complaint, Defendant City raises the

   following affirmative defenses:

   First Affirmative Defense: The City and Defendant Officers complied with all relevant legal

   standards at the time and place of the incident and comported with all proper police training. The

   detention of Plaintiffs was based on probable cause and/or arguable probable cause and any

   searches and seizures of Plaintiffs’ property was based on reasonable and articulable suspicion

   and any force used was not disproportionate to the amount of force legitimately authorized by

   law under the circumstances.



                                                   15
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 16 of 17



   Second Affirmative Defense: To the extent Plaintiffs have received benefits from collateral

   sources or other setoffs or recoupment, Plaintiffs’ claim should be dismissed or diminished

   accordingly.

   Third Affirmative Defense: Neither the City nor Defendant Officers did not knowingly or

   willfully violate any of Plaintiffs’ rights.

   Fourth Affirmative Defense: To the extent any disability or injuries alleged by Plaintiffs are the

   result of intoxication, Plaintiffs’ own behavior, pre-existing conditions, an intervening cause

   and/or subsequent injury or injuries, and were not caused or aggravated by any of the alleged

   acts of the City, recovery for such disability or injuries is barred.

   Fifth Affirmative Defense: Defendant Officers did not commit a battery on Plaintiffs, and any

   contact with Plaintiffs was permissible and privileged in order to effectuate a lawful stop.

   Sixth Affirmative Defense: Count I against the City is barred by the doctrine of governmental

   immunity.

   Seventh Affirmative Defense: Count I against the City is barred because the City acted at all

   times in good faith and/or upon advice of counsel..

   Eighth Affirmative Defense: Defendant City adopts and incorporates herein all Affirmative

   Defenses asserted by other defendants in their Answer and Affirmative Defenses to Plaintiffs’

   First Amended Complaint.

                                      RESERVATION OF RIGHTS

           Defendant City reserve their right to amend and supplement these affirmative defenses,

   adding such affirmative defenses as may appear to be appropriate upon further discovery being

   conducted in this case.




                                                     16
Case 1:19-cv-22303-KMW Document 10 Entered on FLSD Docket 06/26/2019 Page 17 of 17



          WHEREFORE, Defendant CITY OF MIAMI BEACH denies the allegations made

   against it not specifically admitted, demand dismissal of Plaintiffs’ claims against them, request

   entry of judgment in its favor, and request that it be awarded all costs and attorneys’ fees

   incurred in the defense of this matter, as may be allowed by law.

          Dated this 26th day of June, 2019.

                                                Respectfully submitted,

                                                RAUL J. AGUILA, CITY ATTORNEY
                                                CITY OF MIAMI BEACH
                                                1700 CONVENTION CENTER DR.
                                                LEGAL DEPT.-4TH FLOOR
                                                MIAMI BEACH, FLORIDA 33139
                                                TELEPHONE: (305) 673-7470
                                                FACSIMILE: (305) 673-7002

                                            By: /s/Robert F. Rosenwald, Jr.
                                               ROBERT F. ROSENWALD, JR.
                                               First Assistant City Attorney
                                               robertrosenwald@miamibeachfl.gov
                                               Florida Bar No. 0190039
                                               MARK A. FISHMAN
                                               Senior Assistant City Attorney
                                               markfishman@miamibeachfl.gov
                                               Florida Bar No. 0567000




                                                  17
